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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA
     v.

ERIC TABARO NSHIMIYE,                               Crim. No. 24-cr-10071-FDS
 a/k/a Eric Tabaro Nshimiyimana,

        Defendant



         JOINT STATUS REPORT AND MOTION FOR EXCLUSION OF TIME

        The United States of America and the defendant, through counsel, hereby submit this joint

status report. An interim status conference is currently schedule for July 11, 2025, at 10:30 a.m.

The parties jointly request that this interim status conference be treated as a final status conference,

and that this matter be transferred to the District Court for an initial pretrial conference in

accordance with Local Rule 116.5(c)(2).

        Status of Discovery – Local Rule 116.5(c)(2)(A) & (B) – Discovery in this matter is

substantially complete. As stated in the parties’ joint filing dated May 27, 2025, the government

agreed to seek (on the defendant’s behalf) travel records from the governments of Rwanda and

Kenya through the Department of Homeland Security’s embassy and police contacts. ECF No.

97. The government of Rwanda recently notified the government that it has no records responsive

to the defendant’s request. The government of Kenya request is still outstanding. Aside from any

responsive materials produced by the government of Kenya and documents from related cases in

the government’s possession previously reviewed and identified by the defense, the government

does not anticipate producing any additional discovery, nor does the defense anticipate requesting

any additional materials from the government.

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        Rule 12(b) Motions – Local Rule 116.5(c)(2)(C) – The defense anticipates that it may

file a motion to suppress statements made by Nshimiye to law enforcement on March 11, 2024, at

his previous place of employment. It also anticipates making a motion to dismiss based on due

process issues. The defense agrees to file such motions on or before September 8, 2025.

        Periods of Excludable Delay – Local Rule 116.5(c)(2)(D) – The defendant’s initial

appearance in the District of Massachusetts occurred on April 30, 2024. All time between the

initial appearance and July 11, 2025, has been excluded by order of the court. See ECF Nos. 39,

40, 48, 51, 54, 60, 73, 76, 91, and 102.

        The Estimated Number of Trial Days – Local Rule 116.5(c)(2)(E) – The parties anticipate

the trial – including any defense case – will last approximately three weeks (fifteen trial days).

        Other Matters – Local Rule 116.5(c)(3) – The defendant’s Motion to Revoke Pretrial

Detention Order and for Admission to Bail Based on Due-Process Concerns (ECF No. 95) and the

government opposition (ECF No. 103) are pending before the court. Defendant’s appeal of the

court’s decision granting in part and denying in part defendant’s Motion to Appoint Counsel is

also pending. ECF No. 105. The defendant’s Motion for Leave to File Partially Redacted

Objections and Partial Appeal to the Magistrate Judge’s April 4, 2025 Order (ECF No. 104) is

likewise pending.



        Wherefore, the parties respectfully request that the July 11, 2025, status conference be

cancelled and that the court enter an order transferring this matter to the District Court for a pretrial

conference. The parties further request that the time between July 11, 2025, and the initial pretrial

conference be excluded from the speedy trial clock as it constitutes “the reasonable time necessary




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for effective preparation, taking into account the exercise of due diligence,” and because the ends

of justice served by excluding this time period outweigh the public and defendant’s interest in a

speedy trial. See 18 U.S.C. §§ 3161(h)(7)(A) & (B)(iv).




                                                      Respectfully submitted,

       ERIC TABARO NSHIMIYE,                          LEAH B. FOLEY,
       Defendant                                      United States Attorney

By:    s/ Maksim Nemtsev                      By:     /s/ Jason A. Casey
       Maksim Nemtsev                                 Jason A. Casey
       Kurt P. Kerns                                  Christopher Looney
       Counsel to Eric Tabaro Nshimiye                Assistant United States Attorneys

Dated: July 8, 2025




                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                                      /s/ Jason A. Casey
                                                      Jason A. Casey
                                                      Assistant United States Attorney




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